                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                  3:12-cv-305-RJC
                              (3:07-cr-154-RJC-DSC-2)

KATHLEEN GIACOBBE,                   )
                                     )
                                     )
                  Petitioner,        )
                                     )
                                     )                      ORDER
      vs.                            )
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                                     )
                  Respondent.        )
________________________________________ )

        THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255, (Doc. No. 1), and on the Government’s Motion

for Summary Judgment, (Doc. No. 8).

   I.      BACKGROUND

   1. Offense Conduct

   From 2003 to 2006, pro se Petitioner Kathleen Giacobbe owned and operated the website

www.youronlinedoctor.com (“YOD”) from her home in Lyndonville, Vermont. See (Criminal

Case No. 3:07cr154, Doc. No. 336 at 4: PSR; Doc. No. 360 at 1: Gov’t Sentencing Memo.).

Giacobbe hired Porfirio Orta-Rosario, a medical doctor, to serve as YOD’s “managing

physician” from his home in Oshkosh, Wisconsin. See (Criminal Case No. 3:07cr154, Doc. No.

336 at 4: PSR; Doc. No. 360 at 3: Gov’t Sentencing Memo.; Doc. No. 3 at 4: Sealed Indictment).

YOD advertised itself as an online, medical consultation service that provided patients with a


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doctor’s consultation for non-life-threatening medical problems. See (Id., Doc. No. 336 at 4;

Doc. No. 360 at 2). YOD was, in fact, a massive distributor of Schedule III and IV controlled

substances, including hydrocodone (e.g., Vicodin), alprazolam (e.g., Xanax) and diazepam or

benzodiazepine (e.g., Valium), based on sham prescriptions bearing Dr. Orta-Rosario’s

photocopied signature and written by people who had no medical training or authority to write a

prescription. (Id., Doc. No. 336 at 3-4). Alvin Woody, a pharmacist and owner of Woody

Pharmacy in Mooresville, North Carolina, agreed to fill the “prescriptions” generated by YOD

without questioning their legitimacy. (Id.).

       In total, between January 2004 and May 2006, YOD employees, acting under Giacobbe’s

direction, wrote 51,656 “prescriptions” for hydrocodone, resulting in more than five million

dosage units of hydrocodone being distributed to thousands of customers across the country,

resulting in at least several serious injuries and deaths. (Id., Doc. No. 336 at 5, 7; Doc. No. 360

at 5, 6). The operation generated $4.5 million of revenue for YOD. (Id., Doc. No. 336 at 5).

       2. Indictment

       On July 18, 2007, a federal grand jury in the Western District of North Carolina returned

a 102-count indictment charging Petitioner, Orta-Rosario, Woody, and two others with

conspiring to distribute Schedule III and Schedule IV controlled substances without a legitimate

medical purpose and outside the usual course of professional practice, in violation of 21 U.S.C. §

846; and numerous substantive counts of distributing Schedule III controlled substances without

a legitimate medical purpose and outside the usual course of professional practice, and aiding

and abetting the same, in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2. (Id., Doc. No. 3;

Sealed Indictment). Petitioner and Woody were additionally charged with promotional money

laundering and aiding and abetting the same, in violation of 18 U.S.C. §§ 1956(a)(1)(A) and 2;

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and Woody was separately charged with additional counts of promotional and transactional

money laundering, in violation of 18 U.S.C. §§ 1956 and 1957.

        3. Plea negotiations

        Petitioner was offered a plea agreement in April 2008, wherein she would plead guilty to

conspiracy, in violation of 21 U.S.C. § 846, and money laundering, in violation of § 1956(a)(1).

See (Doc. No. 1-2 at ¶ 1: Pet. Ex. 1). As part of the plea agreement, Petitioner would have

acknowledged the maximum penalty for each offense (five and twenty years, respectively), and

would have acknowledged that any sentencing agreements or recommendations made by the

Government were not binding on the district court and “that the Court has the final discretion to

impose any sentence up to the statutory maximum for each count.” (Id. at ¶ 6). For its part, the

Government would have agreed to recommend an adjusted offense level of 25 (which, with a

criminal history category I, yielded an advisory range of 57 to 71 months) and to recommend the

low end of that range. (Id. at ¶ 7(a)-(f)). Petitioner rejected this plea offer.

        4. Trial and Sentencing

        While many of the co-conspirators pled guilty, Petitioner and Orta-Rosario proceeded to

trial. Following a nine-day trial, the jury convicted Petitioner and Orta-Rosario of conspiring to

distribute Schedule III and IV controlled substances and all substantive counts of distribution in

which they were charged. (Id., Doc. No. 302: Jury Verdict). The jury acquitted Petitioner of the

money laundering charges. On May 11, 2010, this Court sentenced Petitioner to 60 months of

imprisonment on Counts One, Three, Four, Five, Six, and Seven, and a consecutive term of 15

months of imprisonment on Counts 20 through 53. (Id., Doc. No. 364: Judgment). The Court

also ordered Petitioner to pay $1,000 toward the costs of court-appointed attorney fees. The

Court sentenced Orta-Rosario to 60 months of imprisonment on each count, the statutory

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maximum, to run concurrently and, over Orta-Rosario’s objection, ordered Orta-Rosario to re-

pay $1,000 towards the cost of court-appointed attorney fees. See (Criminal Case No. 3:07-cr-

154-RJC-DSC-3, Doc. No. 366: Judgment). Both defendants timely filed notices of appeal.

       5. Appeal

       On appeal, Petitioner and Orta-Rosario challenged whether the Controlled Substances

Act was impermissibly vague as applied to them, whether this Court abused its discretion in

denying a motion for mistrial based on deliberate government misconduct following an

unsolicited remark from a Government witness that a YOD customer had died after receiving

hydrocodone from the operation, and whether this Court correctly instructed the jury on the good

faith defense. United States v. Orta-Rosario, 469 F. App’x 140, 148 (4th Cir. 2012)

(unpublished). Orta-Rosario separately challenged the willful blindness jury instruction, this

Court’s denial of a minor role reduction, and the order to re-pay court-appointed counsel fees.

       In an unpublished opinion, the Fourth Circuit affirmed the convictions in all respects and

affirmed Petitioner’s sentence. Orta-Rosario, 469 F. App’x at 148. The Fourth Circuit affirmed

this Court’s denial of a role reduction for Orta-Rosario but vacated the portion of Orta-Rosario’s

sentence requiring the reimbursement of court-appointed counsel fees in light of the Fourth

Circuit’s intervening decision in United States v. Moore, 666 F.3d 313, 322 (4th Cir. 2012). Id.

at 147-48. The Fourth Circuit issued its mandate on April 4, 2012.

       6. Petitioner’s § 2255 allegations

       Petitioner placed the § 2255 motion in the prison mailing system on May 1, 2012, and the

motion was filed in this Court on May 14, 2012. On November 28, 2012, the Court ordered the

Government to respond to the motion to vacate. (Doc. No. 2). On April 12, 2013, the

Government filed the pending motion for summary judgment. (Doc. No. 8). On April 29, 2013,

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this Court entered an Order pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975),

advising Petitioner of her obligation to file a response to the motion for summary judgment, and

explaining the requirement that she present her own evidence by affidavit or unsworn

declarations. Petitioner did not file a response to the summary judgment motion.

       Petitioner raises two issues in her petition. First, she alleges that she was denied effective

assistance of counsel when her attorney Scott Gsell advised her to reject the plea offered by the

Government. Specifically, she alleges that Attorney Gsell told her “that the sentence was not

mandatory,” that the maximum sentence she could receive would be five years, and that she

“would not be convicted at trial,” and based on this allegedly bad advice, Petitioner refused the

plea. See (Doc. No. 1 at 3-4; Doc. No. 1-1 at 4). Petitioner requests that this Court reinstate the

initial plea agreement offer and sentence her to a range of 46 to 57 months. (Doc. No. 1-1 at 5).

Petitioner additionally seeks relief from the Court’s order requiring Petitioner to re-pay a portion

of the court-appointed counsel fees. (Doc. No. 1-1 at 4). Petitioner notes that Orta-Rosario’s

order of reimbursement was vacated by the Fourth Circuit but that hers was not because it was

not raised in her direct appeal. (Doc. No. 1 at 4; Doc. No. 1-1 at 4-5). Petitioner does not allege

ineffective assistance of counsel by her appellate attorney; she merely alleges that the order of

reimbursement is a “miscarriage of justice.” See (Doc. No. 1-1 at 4).

       7. Attorney Gsell’s Affidavit

       Attorney Scott Gsell provided an affidavit to the Government responding to the factual

allegations raised in Petitioner’s first ground for relief. See (Doc. No. 7-1: Gov’t Ex. 1).

Attorney Gsell asserts that Petitioner “maintained throughout the case that she was innocent and

had done nothing wrong or illegal.” See (Id. at ¶¶ 7-11). In his affidavit, Gsell provides specific

examples in which he discussed with Petitioner the evidence against her and possible resolutions

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of her case, only to be rebuffed by Petitioner’s insistence on her innocence. For example,

Attorney Gsell relays that on July 16, 2008, he sent Petitioner a copy of the proposed plea

agreement and advised her that the plea would subject her to a sentencing range of 57 to 71

months. (Id. at ¶ 8). But, according to Attorney Gsell, Petitioner “stated that she was innocent

and could not, nor would not, accept any plea that required jail time.” (Id.) (emphasis added). In

October 2008, Attorney Gsell and Petitioner discussed the plea agreements that co-defendants

Alvin Woody and Stephen Petitioner had entered into with the Government, including how much

jail time each faced, but Petitioner “again stated that she was innocent and could not, nor would

not, accept any plea that required jail time.” (Id. at ¶ 9).

          Attorney Gsell also states that he and Petitioner discussed the evidence against her

“numerous times during the period that [he] represented her,” including in June 2009 when

Attorney Gsell traveled to New Hampshire to meet with Petitioner in person. (Id. at ¶ 10). They

spent approximately nine hours reviewing the evidence and discussing its “possible bearing on

the jury’s verdict.” (Id.). At the end of the meeting, however, Petitioner again stated “that she

was innocent and could not, nor would not, accept any plea that required jail time.” (Id.).

          Attorney Gsell finally recounts a final plea-discussion that he had with Petitioner in

August 2009, just before trial, when Petitioner instructed Attorney Gsell to contact the

Government concerning a possible plea. (Id. at ¶ 11). The Government informed Attorney Gsell

that Petitioner would have to plead to all of the charges in the indictment. (Id.). Attorney Gsell

informed Petitioner of the Government’s response, and Petitioner responded that “she could not

do jail time and would take the case to the jury.” (Id.).

    II.      STANDARD OF REVIEW

    A. Section 2255

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   Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing courts

are directed to promptly examine motions to vacate, along with “any attached exhibits and the

record of prior proceedings” in order to determine whether a petitioner is entitled to any relief. If

a petitioner’s motion survives initial review and once the Government files a Response, the

Court must then review the materials submitted by the parties to determine whether an

evidentiary hearing is warranted under Rule 8(a) of the Rules Governing Section 2255

Proceedings. After having considered the record in this matter, including the parties’ summary

judgment materials, the Court finds that this matter can be resolved without an evidentiary

hearing. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

   B. Summary Judgment

   Summary judgment is appropriate in those cases where there is no genuine dispute as to any

material fact, and it appears that the moving party is entitled to judgment as a matter of law.

FED. R. CIV. P. 56(c)(2); United States v. Lee, 943 F.2d 366, 368 (4th Cir. 1991). Any

permissible inferences to be drawn from the underlying facts must be viewed in the light most

favorable to the party opposing the motion. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 587-88 (1986). Where, however, the record taken as a whole could not lead

a rational trier of fact to find for the non-moving party, disposition by summary judgment is

appropriate. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986).

   III.      DISCUSSION

             A. Ineffective Assistance of Counsel Based on Counsel’s Advice Regarding

                 Petitioner’s Plea

          In her first ground for relief, Petitioner contends that she received ineffective assistance

of counsel based on counsel’s advice regarding the Government’s plea offer. The Sixth

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Amendment to the U.S. Constitution guarantees that in all criminal prosecutions the accused has

the right to the assistance of counsel for his defense. See U.S. CONST. amend. VI. To show

ineffective assistance of counsel, Petitioner must first establish deficient performance by counsel

and, second, that the deficient performance prejudiced Petitioner. See Strickland v. Washington,

466 U.S. 668, 687-88 (1984). In making this determination, there is “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689;

see also United States v. Luck, 611 F.3d 183, 186 (4th Cir. 2010). Furthermore, in considering

the prejudice prong of the analysis, the Court “can only grant relief under . . . Strickland if the

‘result of the proceeding was fundamentally unfair or unreliable.’” Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)). Under these

circumstances, the petitioner “bears the burden of affirmatively proving prejudice.” Bowie v.

Branker, 512 F.3d 112, 120 (4th Cir. 2008). If the petitioner fails to meet this burden, a

“reviewing court need not even consider the performance prong.” United States v. Rhynes, 196

F.3d 207, 232 (4th Cir. 1999), opinion vacated on other grounds, 218 F.3d 310 (4th Cir. 2000).

       The two-part Strickland v. Washington test applies to ineffective assistance of counsel

claims arising out of the plea-bargaining process. See Missouri v. Frye, 132 S. Ct. 1399, 1386-

87 (2012); Lafler v. Cooper, 132 S. Ct. 1376, 1384 (2012); Hill v. Lockhart, 474 U.S. 52, 58

(1985). In Frye and Lafler, the Supreme Court recently examined the application of the

Strickland test in the plea-bargaining process. The Court held in these companion cases that

counsel’s failure to communicate a formal plea offer to his client constitutes deficient

performance as a matter of law. Furthermore, to establish prejudice the defendant has to show

“not only a reasonable probability that he would have accepted the lapsed plea but also a

reasonable probability that the prosecution would have adhered to the agreement and that it

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would have been accepted by the trial court.” Frye, 132 S. Ct. at 1410-11.

       As noted, Petitioner alleges in her petition that she was denied effective assistance of

counsel when Attorney Gsell advised her to reject the plea offered by the Government.

Specifically, she alleges that Attorney Gsell told her “that the sentence was not mandatory,” that

the maximum sentence she could receive would be five years, and that she “would not be

convicted at trial,” and based on this allegedly bad advice, Petitioner refused the plea. See (Doc.

No. 1 at 3-4; Doc. No. 1-1 at 4). Petitioner’s first ground for relief fails because she has neither

alleged nor presented evidence on summary judgment showing that she would have pled guilty

but for Attorney Gsell’s alleged poor advice regarding whether to plead guilty. See Lafler, 132

S. Ct. at 1385 (stating that a petitioner “must show that but for the ineffective advice of counsel

there is a reasonable probability that the plea offer would have been presented to the court (i.e.,

that the defendant would have accepted the plea . . .”). Petitioner’s failure to allege that she

would have pled guilty but for counsel’s allegedly poor advice is consistent with Attorney

Gsell’s statements in his affidavit that Petitioner maintained her innocence throughout his

representation of her. Attorney Gsell states in his affidavit that, after discussing with Petitioner

possible resolutions of her case and the evidence against her in July 2008, October 2008, June

2009, and August 2009, Petitioner consistently maintained her innocence and consistently

refused to accept any plea that required jail time. Petitioner has presented no evidence in

response to the Government’s motion for summary judgment. Here, the only evidence presented

on summary judgment shows that the decision to reject a plea offer was Petitioner’s, based on

her claimed innocence and not, as she now claims, based on Attorney Gsell’s allegedly deficient

advice. Petitioner is obviously dissatisfied with the fact that she ultimately received a sentence

that was longer than the sentence she would have received had she accepted the Government’s

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plea offer. She has failed, however, to meet the evidentiary burden required to show ineffective

assistance of counsel under Lafler. Accord Diaz v. United States, 930 F.2d 832, 835 (11th Cir.

1991) (“Given appellant’s awareness of the plea offer, his after the fact testimony concerning his

desire to plead, without more, is insufficient to establish that but for counsel’s alleged advice or

inaction, he would have accepted the plea offer.”) (citing Johnson v. Duckworth, 793 F.2d 898,

902 n.3 (7th Cir. 1986)).

       In sum, Petitioner’s first claim is without merit.

           B. Order to repay $1,000 of court-appointed counsel fees

       In her second claim for relief, Petitioner contends that this Court’s order to re-pay $1,000

of her court-appointed counsel fees was unconstitutional and that she is therefore entitled to

relief in the form of an amended judgment deleting the requirement of repayment. Petitioner’s

claim fails because it is not cognizable on collateral review. Section 2255 provides as follows:

       A prisoner in custody . . . claiming the right to be released upon the ground that
       the sentence was imposed in violation of the Constitution or laws of the United
       States, or that the court was without jurisdiction to impose such sentence, or that
       the sentence was in excess of the maximum authorized by law, or is otherwise
       subject to collateral attack, may move the court which imposed the sentence to
       vacate, set aside or correct the sentence.

28 U.S.C. § 2255(a). Petitioner’s challenge to the reimbursement order does not claim a right to

be released and fails for this reason alone. It additionally fails because it is not based on a

constitutional or jurisdictional error, as United States v. Moore, 666 F.3d 313, 323-24 (4th Cir.

2012), is premised on the interpretation of the Criminal Justice Act statute, rather than the

Constitution. Furthermore, this Court’s modest reimbursement order did not result in a

“complete miscarriage of justice,” as would be required to warrant relief under § 2255. See

United States v. Bokun, 73 F.3d 8, 12 (2d Cir. 1995) (holding that a “collateral attack on a final


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judgment in a criminal case is generally available under § 2255 only for a constitutional error, a

lack of jurisdiction in the sentencing court, or an error of law or fact that constitutes ‘a

fundamental defect which inherently results in complete miscarriage of justice’”). Thus,

Petitioner’s second ground for relief also fails.

   IV.        CONCLUSION

   For the reasons stated herein, the Court will dismiss the § 2255 petition and grant

Respondent’s motion for summary judgment.

         IT IS, THEREFORE, ORDERED that:

         1.     Petitioner’s § 2255 motion to vacate, (Doc. No. 1), is DENIED and

                DISMISSED.

         2.     The Government’s Motion for Summary Judgment, (Doc. No. 8), is GRANTED.

         3.     Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this Court

                declines to issue a certificate of appealability as Petitioner has not made a

                substantial showing of the denial of a constitutional right. 28 U.S.C. §

                2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to

                satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would find

                the district court’s assessment of the constitutional claims debatable or wrong).




                                                                 Signed: September 1, 2015




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